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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                       GAINESVILLE DIVISION

DENISE VAN BEVER,              )
                               )
             Plaintiff,        )
                               )             Civil Action File No.:
                               )             2:08-cv-0182-WCO
vs.                            )
                               )
GC SERVICES LIMITED            )
PARTNERSHIP, a Delaware        )
partnership,                   )
                               )
             Defendant.        )
______________________________ )

            STIPULATION OF DISMISSAL WITH PREJUDICE

      COME NOW, Plaintiff Denise Van Bever and Defendant GC Services

Limited Partnership in the above-referenced action, and hereby file this Stipulation

of Dismissal With Prejudice pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii) dismissing any and all claims against Defendant GC Services

Limited Partnership with prejudice in the above-referenced action.

      STIPULATED AND AGREED to this 24th day of April, 2009.


                             (signatures on next page)




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Prepared and submitted by:               Consented to by:

FRANZÉN AND SALZANO, P.C.                SKAAR & FEAGLE, LLP

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